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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENN'ESSEE
WESTERN DIVISION

06/08/2005

CASE NO: 04-20293-M1

USA VS. ERIC LEE BELL

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Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
142 North Third St.

3rd Floor

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

